  Case:14-08561-MCF13 Doc#:100 Filed:10/27/17 Entered:10/27/17 11:42:06                                                               Desc: Main
                      IN THE UNITED STATES BANKRUPTCY
                                Document   Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

CARMELO CAEZ CRUZ                                                                            CASE NO. 14-08561-MCF
AMARILYS COLON FERNANDEZ                                                                     CHAPTER 13
   DEBTOR(S)


                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. A meeting of creditors pursuant to Section 341 was held on 11/18/2014. The meeting was (was not) duly attended by
debtor(s) and their attorney.

2. The liquidation value of the estate is: 0.00

3. With respect to the attached payment plan:


                                PLAN DATE: September 23, 2017                                 PLAN BASE: $48,480.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 10/27/2017
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] FEASIBILITY 11 USC § 1325(a)(6):

   Debtors owe $3,540.00 in arrears equivalent four months.


  2. [X] INSUFFICIENTLY FUNDED § 1325(b):

  If the application for compensation is approved the plan will be insufficient. Also, the outcome of the
objection to POC 5 filed by Treasury may impact the sufficiency as well.


  3. [X] FAILS DISPOSABLE INCOME TEST § 1325(b)(1)(B):

 Per Notice of Mortgage Payment Change (Claim # 5) filed by Bayview Loan Services, debtors' current
mortgage payment is $775.75; however, Schedule "J" discloses $895.00.




  [X] OTHER:

  Pending adjudication of objection to claim #8 dkt 51, Dept. of Treasury's reply filed at dkt 63 and debtor's
Sur-reply to debtor's objection to claim #8.


NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Osmarie Navarro Martínez
                                                                                        Osmarie Navarro Martínez
Atty: JUAN C BIGAS VALEDON*                                                             USDC # 222611
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
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